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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF TEXAS
                            CORPUS CHRISTI DIVISION

M.D., by her next friend, Sarah R.        §
Stukenberg, et al.,                       §
                                          §
        Plaintiffs,                       §
                                          §
v.                                        §      Civil Action No. 2:11-CV-00084
                                          §
GREG ABBOTT, in his official capac-       §
ity as Governor of the State of Texas,    §
et al.,                                   §
                                          §
        Defendants.                       §


                               NOTICE OF APPEAL


       Notice is hereby given that defendants Greg Abbott, in his official capacity as

Governor of the State of Texas, Cecile Erwin Young, in her official capacity as Exec-

utive Commissioner of the Health and Human Services Commission of the State of

Texas, and Stephanie Muth, in her official capacity as Commissioner of the Depart-

ment of Family and Protective Services of the State of Texas, appeal to the United

States Court of Appeals for the Fifth Circuit from the Order entered in this action on

April 15, 2024 (Dkt. 1560), and from all other adverse orders, rulings, decrees, deci-

sions, opinions, memoranda, conclusions, or findings preceding, leading to, merged

in, subsumed in, impacting within, identified within, or included within that order.

See In re U.S. Bureau of Prisons, 918 F.3d 431, 436–38 (5th Cir. 2019) (holding con-

tempt order is appealable final order under 28 U.S.C. § 1291).
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Date: April 16, 2024                            Respectfully submitted,

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                             CERTIFICATE OF SERVICE

      I certify that on April 16, 2024, a true and correct copy of the foregoing docu-

ment was electronically filed with the Clerk of the Court using the electronic case

filing system, which automatically provided notice to all attorneys of record.

                                              _/s/ Allyson N. Ho__
                                              Allyson N. Ho




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